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BLD-390

                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT


                                      No. 16-1042


                         KHALEEM ASIATIC ALLAH-BEY,
                                               Appellant

                                            v.

 BRETT A. ROBERTS; STEVEN M. JONES; KENNETH S. BOOTH; DOUGLAS W.
             BUSK; CREDIT ACCEPTANCE CORPORATION


                    On Appeal from the United States District Court              FILED
                        for the Eastern District of Pennsylvania
                        (D.C. Civil Action No. 2:15-cv-04540)                    OCT l    u_   2016
                     District Judge: Honorable Petrese B. Tucker            LUCY V. CHIN, Interim Clerk
                                                                            By               Dep. Clerk

  Submitted for Possible Dismissal for Jurisdictional Defect or Summary Action Under
                        Third Circuit LAR 27.4and1.0.P. 10.6
                                    August 25, 2016

              Before: KRAUSE, SCIRICA, and FUENTES, Circuit Judges


                                     JUDGMENT


       This cause came to be considered on the record from the United States District
Court for the Eastern District of Pennsylvania and was submitted for possible dismissal
due to jurisdictional defect or summary action pursuant to Third Circuit LAR 27.4 and
1.0.P. 10.6, on August 25, 2016. On consideration whereof, it is now hereby

       ORDERED and ADJUDGED by this Court that the judgment of the District Court
entered on December 3, 2015, be, and the same is, hereby summarily affirmed. All of the
above in accordance with the opinion of this Court.
      Case 2:15-cv-04540-PBT Document 13 Filed 10/11/16 Page 2 of 2
  Case: 16-1042    Document: 003112431001      Page: 2      Date Filed: 10/11/2016




                                                   ATTEST:

                                                   s/ Marcia M. Waldron
                                                   Clerk
Dated: September 16, 2016




                              Clerk, U.S. Court of Appeals for the Third Circuit
